Case 3:20-cv-01150-ZNQ-DEA Document 48 Filed 08/02/21 Page 1 of 2 PageID: 1530




                                        UNITED STATES DISTRICT COURT
                                                    for the
                                           DISTRICT OF NEW JERSEY


JACKSON TRAILS, LLC, a New Jersey limited liability corporation,

                             Plaintiff(s),                      REQUEST BY LOCAL COUNSEL
                                                                FOR PRO HAC VICE ATTORNEY TO
            v.                                                  RECEIVE ELECTRONIC
                                                                NOTIFICATION

TOWNSHIP OF JACKSON, a New Jersey municipal
                                        Civilcorporation  and body politic; and the PLANNING BOARD
                                              Action No. 3:20-cv-01150
                             Defendant(s)




            Request is hereby made by local counsel for pro hac vice counsel to receive electronic notifications in the
 within matter, and it is represented that:

                 1.   An order of the Court granting a motion to appear pro hac vice in the within matter has
                      been entered; and

                 2.   If admission was granted after March 22, 2005, the Admission Fee, in the amount of $150,
                      pursuant to L.Civ.R. 101.1(c)(3), has been paid to the Clerk of the Court.


                                                                                        s/ Sieglinde K. Rath
                                                                                    Signature of Local Counsel


 PRO HAC VICE ATTORNEY INFORMATION:

                      Roman P. Storzer
 Name:                ____________________________
                      9433 Common Brook Rd.
 Address:             ____________________________
                      Owings Mills, MD 21117
                      ____________________________
                      Ste. 208
                      ____________________________

                      ____________________________
                      storzer@storzerlaw.com
 E-mail:              ____________________________
                      (One email address only)




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 Instructions for LOCAL COUNSEL for filing:
 1. Select the Case Type (Civil) from the menu bar at the top of your screen.
 2. Click on Notices.
 3. Select the event, Notice of Pro Hac Vice to Receive NEF.
 4. Enter the case for which the Request is being filed.
 5. Select the PDF document to file.
 6. Proofread the docket text.
 7. Submit the Request to ECF by clicking the NEXT button.




                                                                                DNJ-CMECF-002 |
